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 8                                    UNITED STATES DISTRICT COURT
 9                                 SOUTHERN DISTRICT OF CALIFORNIA
10                                  (HONORABLE JEFFREY T. MILLER)
11 UNITED STATES OF AMERICA,                          )      Case No. 08CR0650-JM
                                                      )
12                 Plaintiff,                         )
                                                      )
13                 v.                                 )      NOTICE TO PROBATION OF
                                                      )      INTENDED SENTENCE
14 LAWRENCE DOSS,                                     )
                                                      )
15                                                    )
                   Defendant.                         )
16                                                    )
17 TO:             UNITED STATES PROBATION OFFICE, AND
                   U.S. PROBATION OFFICER LONNIE K. EVERILL:
18

19                 Notice is hereby given to the United States Probation Office that the Court intends to sentence
20 the above named defendant LAWRENCE DOSS to time served, with a term of supervised release of three

21 years on March 12, 2010. It is further the intent of the Court to impose as a condition of supervised release,

22 that Mr. Doss reside in a Residential Reentry Center (RRC) for a period of up to 120 days, as directed by the

23 probation officer. It is the Court’s intention that the defendant be placed in the RRC on March 12, 2010.

24 DATED: February 26, 2010

25
                                                              Hon. Jeffrey T. Miller
26                                                            United States District Judge
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